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                                                                         EASTERN DISTRICT OF ARKANSAS
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                                                                                      FILED
                                                                                       JUN 2 6 2019
                            IN THE UNITED STATES DISTRICT COURT
                                                                                    IN OPEN COURT
                               EASTERN DISTRICT OF ARKANSAS JAME                      . McCORMAC , CLERK

UNITED STATES OF AMERICA                         )
                                                 )
V.                                               )    No. 4:17CR00145 BSM
                                                 )
EDGAR K. RIDDICK                                 )

                                        PLEA AGREEMENT

           The United States Attorney for the Eastern District of Arkansas, Cody Hiland, by and

through Kristin Bryant, Assistant United States Attorney, and Edgar K. Riddick, defendant,

represented by the undersigned counsel, hereby agree to the following terms and conditions in

connection with the above referenced proceedings.

           1.     GUILTY PLEA: The defendant will enter a plea of guilty to possession of child

pornography, a violation of Title 18, United States Code, Section 2252(a)(4)(B), as set forth in

Count One of the Indictment. The United States agrees to move for dismissal of the remaining

counts against the defendant in this matter upon acceptance of the guilty plea. This is a Federal

Rule of Criminal Procedure 11 (c)(1 )(A) plea agreement.

           2.     ELEMENTS OF THE CRIME: The parties agree the elements of the offense

to which the defendant will plead guilty are:

           (1)    The defendant knowingly possessed images that contained visual depictions of
                  child pornography;

           (2)    the defendant knew that the visual depictions were of a minor engaging in
                  sexually explicit conduct; and

           (3)    the materials containing the visual depictions were transported in interstate or
                  foreign commerce.

           The defendant agrees that he is guilty of the offense charged and each of these elements

is true.
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        3.      PENALTIES:

                A.      STATUTORY PENALTIES: The maximum penalty for the charge set

forth in Count One is not more than ten years imprisonment, not less than 5 years to life of

supervised release, a $250,000 fine, and a $100 special assessment. Defendant also understands

that unless the Court finds the defendant to be indigent, an additional mandatory special

assessment of $5,000 will be imposed pursuant to the Justice for Victims of Trafficking Act of

2015.

               B.      SUPERVISED RELEASE: Supervised release is a period of time

following imprisonment during which defendant will be subject to various restrictions and

requirements. Defendant understands that if defendant violates one or more of the conditions of

any supervised release imposed, the defendant may be returned to prison for all or part of the

term of supervised release, which could result in defendant serving a total term of imprisonment

greater than the statutory maximum stated above.

        4.     WAIVERS:        The defendant acknowledges that he has been advised of and fully

understands the nature of the charges to which the plea is offered, the mandatory minimum penalty

provided by law, if any, and the maximum possible penalty provided by law. The defendant further

understands that by entering into this Agreement and Addendum, he is waiving certain

constitutional rights, including, without limitation, the following:

               A.      The right to appeal or collaterally attack, to the full extent of the law, all

non-jurisdictional issues, including any forfeiture or restitution order, as follows:

                       (1)     the defendant waives the right to appeal all non-jurisdictional issues

including, but not limited to, any issues relating to pre-trial motions, hearings and discovery and

any issues relating to the negotiation, taking or acceptance of the guilty plea or the factual basis



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for the plea, including the sentence imposed or any issues that relate to the establishment of the

Guideline range, except that the defendant reserves the right to appeal claims of prosecutorial

misconduct and the defendant reserves the right to appeal the sentence if the defendant makes a

contemporaneous objection because the sentence imposed is above the Guideline range that is

established at sentencing;

                       (2)     the defendant expressly acknowledges and agrees that the United

States reserves its right to appeal the defendant's sentence under Title 18, United States Code,

Section 3742(b) and United States v. Booker, 543 U.S. 220 (2005);

                       (3)     the defendant waives all rights to collaterally attack the conviction

and sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

Code, Section 2255, except for claims based on ineffective assistance of counsel or prosecutorial

misconduct;

                       (4)     the defendant waives the right to have the sentence modified

pursuant to Title 18, United States Code, Section 3582(c)(2);

                       (5)     the defendant waives the right to appeal the Court's determination

of the amount of restitution and subsequent restitution order, if any; and,

                       (6)     the defendant waives the right to appeal the Court's determination

of any forfeiture issues and subsequent forfeiture order, if any.

               B.      The right to plead not guilty or to persist in that plea if it has already been

made, and the right to a speedy and public trial before a jury;

               C.      The right to be presumed innocent and to have the burden of proof placed

on the United States to establish guilt beyond a reasonable doubt;

               D.      The right to confront and cross examine witnesses;



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                 E.    The right to testify in his own behalf if the defendant so chooses, or, the

right to remain silent and not be compelled to testify, and to have that choice not used against the

defendant;

                 F.    The right to call witnesses and to require those witnesses to appear by

issuing subpoenas.

                 G.    Pursuant to Federal Rule of Criminal Procedure 1 l(b)(l)(O), the defendant

understands that upon conviction, a defendant who is not a United States citizen may be removed

from the United States, denied citizenship, and denied admission to the United States in the

future.

          5.     STIPULATIONS: The United States and the defendant stipulate to the

following:

                 A.    The parties agree that the base offense level is 18 pursuant to U.S.S.G.

§ 2G2.2(a)(l).

                 B.    The parties agree to the following specific offense characteristics:

                       1.     An additional two levels because the offense involved a
                              prepubescent minor who had not attained the age of 12 pursuant to
                              § 2G2.2(b )(2);

                       11.    An additional four levels because the offense involved material that
                              portrayed sadistic or masochistic conduct pursuant to
                              § 2G2.2(b)(4); and

                       111.   An additional five levels because the offense involved at least 600
                              images pursuant to§ 2G2.2(b)(7)(D).

                 C.    The defendant acknowledges that without the benefit of this plea

agreement, he could be subject to a two level increase because the offense involved the use of a

computer pursuant to U.S.S.G. § 2G2.2(b)(6), and an additional five level increase because the

defendant distributed in exchange for any vauluable consideration pursuant to U.S.S.G.


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§ 2G2.2(b )(3)(B). Furthermore, the United States is dismissing the distribution of child

pornography counts which carry mandatory minimum penalties of not less than five years'

imprisonment.

                D.     The defendant is eligible for a 2 point reduction for acceptance of

responsibility unless the defendant takes any action between the entry of the guilty plea and

imposition of the sentence that is inconsistent with acceptance ofresponsibility. If the offense

level is 16 or greater, the determination of whether the defendant is eligible for a third point

reduction for acceptance of responsibility will be made by the United States at the time of

sentencing.

                E.     The parties stipulate that no other enhancements or reductions under

Chapter 2G2.2 or Chapter 5 of the Guidelines apply, other than those specifically set out in this

agreement and its addendum. The parties agree to recommend a guideline sentence.

                F.     The defendant specifically waives any and all challenges to the searches,

seizures, arrests, statements, and forfeitures that have taken place as of the date of the execution

of this plea agreement by the defendant in this investigation by any entity, and in any forum

where the offense may be pursued and/or forfeiture may be sought. Defendant will assist in

executing any requested waiver of challenge and relinquishment of rights to any and all assets

that have been seized to date in this investigation by any participating agency or department, in

any forum where the forfeiture may be sought.

                G.     The defendant stipulates that the following facts are true:

       Between May 30, 2016, and January 4, 2017, the National Center for Missing and

Exploited Children (NCMEC) received information that an individual utilizing Chatstep had

uploaded child pornography on multiple occasions. NCMEC reported this information to the



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Little Rock Police Department (LRPD), who determined that the IP address uploading the child

pornography belonged to Edgar Riddick in Little Rock, AR.

       On February 22, 2017, LRPD executed a federal search warrant at Riddick's residence.

LRPD Detectives Amber Kalmer and Jennifer Hurd interviewed Riddick, post-Miranda. Riddick

admitted to having a Chatstep account and would log on using different personas. Riddick was

advised LRPD received several CyberTips from NCMEC regarding images being uploaded in

Chatstep. Riddick stated he did not want to say anything to incriminate himself.

       Law enforcement seized multiple electronic devices from Riddick' s residence. During a

preview of Riddick's desktop computer, numerous sexually explicit images of children were

observed.

       A later forensic examination of Riddick's electronic devices revealed revealed over 1,000

images and videos of child pornography, some of which contained prepubescent minors that had

not attained the age of 12 and sadistic and masochistic conduct.

       The parties understand that the Court is not bound by these stipulations. The defendant

further understands that if the Court does not accept this Plea Agreement, the defendant is not

entitled to withdraw the guilty plea or otherwise be released from defendant's obligations under

this Agreement and Addendum.

       6.      SEX OFFENDER REGISTRATION: Defendant has been advised, and

understands, that under the Sex Offender Registration and Notification Act (SORNA), a federal

law, he must register and keep the registration current in each of the following jurisdictions:

where he resides, where he is an employee, and where he is a student. Defendant understands

that the requirements for registration include providing his name, his residence address, and the

names and addresses of any places where he is or will be an employee or a student, among other



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information. Defendant further understands that the requirement to keep the registration current

includes informing at least one jurisdiction in which he resides, is an employee, or is a student

not later than three business days after any change of his name, residence, employment, or

student status. Defendant has been advised, and understands, that failure to comply with these

obligations subjects him to prosecution for failure to register under federal law, Title 18, United

States Code, Section 2250, which is punishable by a fine or imprisonment, or both.

       7.      SENTENCING GUIDELINES: It is specifically understood by the defendant

that the Sentencing Guidelines are not mandatory but are advisory, and that the Court is to

consult them in determining the appropriate sentence. The defendant understands that the

determination of the applicability of the Guidelines and of the appropriate sentence will be made

by the Court. The defendant is aware that any estimate of the probable sentencing range under

the Sentencing Guidelines that the defendant may have received from the defendant's counsel,

the United States, or the Probation Office, is merely a prediction, not a promise, and is not

binding on the United States, the Probation Office, or the Court. The United States makes no

promise or representation concerning what sentence the defendant will receive and the defendant

cannot withdraw a guilty plea, or otherwise avoid the defendant's obligations under this

Agreement and Addendum, based upon the actual sentence imposed by the Court. The parties

understand and agree that if the guideline range is greater or less than the defendant or the United

States expected it to be, and/or the sentence imposed by the Court is greater or lesser than

anticipated, neither the defendant nor the United States will be allowed to withdraw, nor request

withdrawal of, the guilty plea, nor be excused from any obligation under this Agreement and

Addendum.




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        8.     ALLOCUTION: The United States reserves the right to bring any and all facts

which it believes are appropriate to the attention of the Court.

       9.      COOPERATION IN THE SENTENCING PROCESS:

               A.      The defendant agrees to truthfully provide all information to the Probation

Office as is needed for preparation of the pre-sentence report, including, but not limited to,

criminal history information. The defendant shall voluntarily provide a complete and truthful

written accounting of the defendant's criminal history to the Probation Office.

               B.      The defendant agrees to execute all waivers necessary for the preparation

of the pre-sentence report.

               C.      The defendant understands and acknowledges that the defendant's

obligation of disclosure regarding criminal history is not limited to arrests and convictions

reported in computer databases, but requires the defendant to disclose all arrests and/or

convictions, including any juvenile matters, regardless of whether the defendant believes the

arrest/conviction counts under the Sentencing Guidelines.

               D.      The defendant is required to comply with these obligations no later than

the expiration of the date on which objections to the pre-sentence report are due.

       10.     FINANCIAL MATTERS:

               A.      FINANCIAL STATEMENT: The defendant agrees to fully and

truthfully complete a Financial Statement provided by the United States Probation Office.

               B.      FINES: The defendant understands that unless the Court determines that

the defendant is financially unable to pay a fine, the Court must impose a fine pursuant to the

Sentencing Reform Act of 1984.




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                C.     SPECIAL PENAL TY ASSESSMENT: The defendant agrees to pay to

the United States a special assessment of $100.00 per count, as required by Title 18, United

States Code, Section 3013. This special assessment is to be paid by bank cashier's check or

money order as directed by the Court. Cashier's checks or money orders should be made

payable to "Clerk, United States District Court."

               D.      RESTITUTION: Defendant acknowledges that pursuant to 18 U.S.C.

§ 2259(a), the Court is required to order restitution for the full amount of the victims'

compensable losses as defined at 18 U.S.C. § 2259(b)(3) and (c) as may be proved by the United

States or stipulated to by the parties. Defendant acknowledges that the Court may not decline to

award restitution because of the defendant's economic circumstances or the fact that the victims

have, or are entitled to, receive compensation for their injuries from the proceeds of insurance or

any other source. Pursuant to 18 U.S.C. § 2259, Defendant agrees to the entry of a Restitution

Order for the full amount of the victims' losses.

       Defendant understands that an unanticipated amount of a restitution order will not serve

as grounds to withdraw defendant's guilty plea. Defendant further agrees to grant the United

States a wage assignment, liquidate assets, or complete any other tasks which will result in

immediate payment in full, or payment in the shortest time in which full payment can be

reasonably made as required under 18 U.S.C. § 3572(d).

       Defendant also understands that unless the Court finds the defendant to be indigent, an

additional mandatory special assessment of $5,000 will be imposed pursuant to the Justice for

Victims of Trafficking Act of 2015.

       The parties agree to the following restitution amounts:

               Restitution in the amount of $500 to the "Vicky Series;"



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               Restitution in the amount of $500 to the "Jan_Socks Series;"

               Restitution in the amount of $500 to the "Marineland Series;"

               Restitution in the amount of $500 to the "Sweet Sugar Series;"

               Restitution in the amount of $500 to the "Jenny Series."

               E.      FINANCIAL INFORMATION: The defendant agrees to fully disclose

all assets in which he has any interest or over which the defendant exercises control, directly or

indirectly, including those held by a spouse, nominee or third party. The defendant agrees to

truthfully complete the financial statement form provided by the United States Attorney's Office

for the Eastern District of Arkansas by the date of defendant's entry of a guilty plea, sign it under

penalty of perjury, and provide it to the United States Attorney's Office for the Eastern District

of Arkansas. The defendant agrees to provide updates with any material changes in

circumstances, as described in 18 U.S.C. § 3664(k), which occur prior to sentencing, within

seven days of the event giving rise to the changed circumstances. Prior to sentencing, the

defendant agrees to notify the Assistant United States Attorney and the Financial Litigation Unit

of the United States Attorney's Office for the Eastern District of Arkansas before the defendant

transfers any interest in property with a value exceeding $1,000 owned directly or indirectly,

individually or jointly, by the defendant, including any interest held or owned under any name,

including trusts, partnerships, and corporations. The defendant expressly authorizes the United

States Attorney's Office to obtain a credit report on him. The defendant agrees to provide

waivers, consents or releases requested by the United States Attorney's Office to access records

to verify the defendant's financial information. The defendant also authorizes the United States

Attorney's Office to inspect and copy all financial documents and information held by the United

States Probation Office.



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        11.     DOUBLE JEOPARDY AND SUCCESSIVE PROSECUTION: The United

States Attorney for the Eastern District of Arkansas will bring no further charges against the

defendant for any acts or conduct arising out of the events described in the Indictment which is

the subject of this action, unless the defendant breaches this Agreement and Addendum.

        12.    RECORDS: The defendant hereby waives all rights, whether asserted directly

or by a representative, to request or receive from any department or agency of the United States

any records pertaining to the investigation or prosecution of this case, including without

limitation any records that may be sought under the Freedom oflnformation Act, 5 U.S.C.

Section 552, or the Privacy Act of 1974, 5 U.S.C. Section 552a.

        13.    CIVIL CLAIMS BY THE GOVERNMENT: Except to the extent otherwise

expressly specified herein, this Agreement and Addendum does not bar or compromise any civil

or administrative claim pending or that may be made against the defendant, including but not

limited to tax matters.

        14.    EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT AND

ADDENDUM:

               A.         Defendant acknowledges and understands that if the defendant violates

any term of this Agreement and Addendum, engages in any further criminal activity prior to

sentencing, or fails to appear for any subsequent proceeding including sentencing, the United

States shall have, in addition to all other rights and remedies otherwise available, the right to:

                          ( 1)   terminate this Agreement and Addendum; or

                          (2)    proceed with this Agreement and Addendum and

                                 (a)    deny any and all benefits to which the defendant would

otherwise be entitled under the terms of this Agreement and Addendum; and/or



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                               (b)     advocate for any sentencing enhancement that may be

appropriate.

               B.       In the event the United States elects to terminate this Agreement and

Addendum, the United States shall be released from any and all obligations hereunder. The

defendant acknowledges and understands that the agreement of the United States to dismiss any

charge is conditioned upon final resolution of this matter. If this Agreement and Addendum is

terminated or if the defendant's conviction ultimately is overturned, then the United States retains

the right to reinstate any and all dismissed charges and to file any and all charges which were not

filed because of this Agreement and Addendum.

               C.      The defendant hereby knowingly and voluntarily waives any defense

based upon the applicable statute of limitations and/or the Speedy Trial Act, for any charges

reinstated or otherwise filed against the defendant as a result of defendant's breach of this

Agreement and Addendum, so long as the United States initiates any otherwise time barred

action within one year of termination or revocation of this Agreement and Addendum.

               D.      In the event that the Agreement and Addendum is terminated or if the

defendant successfully moves to withdraw his plea, any statement made by the defendant in

negotiation of, or in reliance on this Agreement and Addendum, including this Agreement, the

stipulations in paragraph 5 of this Agreement, and the plea colloquy, but excepting statements

made pursuant to any proffer agreement entered into between the parties:

                       (1)     may be used in the United States' case in chief and to cross

examine the defendant should he testify in any subsequent proceeding; and/or

                       (2)     any leads derived therefrom may be used by the United States.


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The defendant waives any and all rights to the contrary and shall assert no claim under the

United States Constitution, any statute, or any rule of procedure or evidence to the contrary,

including Federal Rule of Evidence 410 and Federal Rule of Criminal Procedure 1 l(f).

Defendant has been advised of his rights pursuant to Federal Rule of Evidence 410 and Federal

Rule of Criminal Procedure 11 (f) and waives these rights.

        15.      PARTIES: This Agreement and Addendum is binding only upon the United

States Attorney's Office for the Eastern District of Arkansas and the defendant. It does not bind

any United States Attorney outside the Eastern District of Arkansas, nor does it bind any other

federal, state or local prosecuting, administrative, or regulatory authority.

        16.      MISCELLANEOUS:

                 A.    MODIFICATION: No term or provision contained herein may be

modified, amended or waived except by express written agreement signed by the party to be

bound thereby.

                 B.    HEADINGS AND CAPTIONS: Subject headings and captions are

included herein for convenience purposes only and shall not affect the interpretation of this

Agreement and Addendum.

                 C.    WAIVER: No waiver of a breach of any term or provision of this

Agreement and Addendum shall operate or be construed as a waiver of any subsequent breach or

limit or restrict any other right or remedy otherwise available. Any waiver must be expressly

stated in writing signed by the party to be bound thereby.

                 D.    RIGHTS AND REMEDIES CUMULATIVE: The rights and remedies of

the United States expressed herein upon any breach hereunder by the defendant are cumulative


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 and not exclusive of any rights and remedies otherwise available to the United States in the event

 of any breach of this Agreement and Addendum by defendant.

                E.      JOINT NEGOTIATION: This Agreement and Addendum has been

mutually negotiated by the parties hereto, and any uncertainty or ambiguity existing herein shall

not be interpreted against any party by reason of its drafting of this Agreement and Addendum,

but instead shall be interpreted according to the application of the general rules of interpretation

for arms length agreements.

        17.     NO OTHER TERMS: This document and the Addendum completely reflect all

promises, agreements and conditions made between the parties, constitute the entire agreement

between the parties and supersedes any and all prior agreements or understandings between the

parties, oral or written, with respect to the subject matter hereof.

        18.     APPROVALS AND SIGNATURES:

                A.      DEFENDANT: The defendant has read this Agreement and Addendum

and carefully reviewed every part of it with his attorney. The defendant understands and

voluntarily agrees to the terms and condition of this Agreement and Addendum. Further, the

· defendant has consulted with his attorney and fully understands his rights with respect to the

provisions of the United States Sentencing Guidelines which may apply to this case. No other

promises or inducements have been made to the defendant, other than those expressly contained

in this Agreement and Addendum. In addition, no one has threatened or forced the defendant in

any way to enter into this Agreement and Addendum. Defendant further acknowledges that

defendant has entered into this Agreement and Addendum, consciously and deliberately, by

defendant's free choice, and without duress, undue influence or otherwise being forced or

compelled to do so, and this Agreement and Addendum constitutes the legal, valid and binding
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obligation of the defendant, fully enforceable against defendant in accordance with its terms.

Finally, the defendant is satisfied with the representation of his attorney in this case.

               B.      DEFENSE COUNSEL: Defense counsel acknowledges that he is the

attorney for the defendant, and that he has fully and carefully discussed every part of this

Agreement and Addendum with the defendant. Further, defense counsel has fully and carefully

advised the defendant of the defendant's rights, of possible defenses, and of the consequences of

entering into this Agreement and Addendum, including the possible consequences of not

complying with this Agreement and Addendum. To counsel's knowledge, the defendant's

decision to enter into this Agreement and Addendum is an informed and voluntary decision.

        19.    REQUIREMENT OF CUSTODY:

       The defendant acknowledges that this offense is considered a crime of violence under 18

U.S.C. § 3156(a)(4)(C). Therefore, 18 U.S.C. § 3143(a)(2) requires that he be taken into

custody immediately at the time of the guilty plea unless it is clearly shown that there are

exceptional circumstances why detention would not be appropriate. The burden is on the

defendant to prove the exceptional circumstances. The defendant should expect to be taken into

custody at the time of the guilty plea.

                      (END OF TEXT. SIGNATURE PAGE ATTACHED)




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       DATED this 26th day of June, 2019.




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 ~
Edgar K. Riddick
Defendant




Blake Hendrix      · f
Attorney for Defendarlt




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